Case 1:05-cv-00051-RHB ECF No. 504, PageID.8806 Filed 08/01/14 Page 1 of 23




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

STRYKER CORPORATION and
HOWMEDICA OSTEONICS CORP.,

                 Plaintiffs,             Case No. 1:05-cv-51

v.                                       HON. ROBERT HOLMES BELL

XL INSURANCE AMERICA,
INC. and TIG INSURANCE
COMPANY,

                Defendants.



       STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF
           DEFENDANT TIG INSURANCE COMPANY’S
             MOTION FOR SUMMARY JUDGMENT




                                     1
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8807 Filed 08/01/14 Page 2 of 23




       Defendant, TIG Insurance Company (“TIG”), submits this Statement of Undisputed Facts

in Support of TIG’s Motion for Summary Judgment. TIG contends the material facts listed

below are undisputed, there is no genuine issue to be tried, and TIG is entitled to judgment as a

matter of law.

The Parties

       1.        This case is an insurance coverage dispute involving the excess liability policy,

policy number XLX9274031, issued by TIG for the period January 1, 2000 to January 1, 2001

with limits of $25 million excess of $17 million (the “TIG Policy”). (TIG Policy attached as

EXHIBIT 1.)

       2.        Plaintiffs Stryker Corporation and Howmedica Osteonics, Corp. (“Stryker”) are

Insureds under the TIG Policy. (TIG Policy, EXHIBIT 1.)

The Pfizer Howmedica Acquisition

       3.        In the summer of 1998 Stryker decided to acquire Pfizer, Inc.’s Howmedica

division, which propelled Stryker to “become[] one of the largest players in the orthopedic

implant business” and “a leader in the worldwide medical technology implant marketplace.”

(Printout         from        Stryker’s       website       at       https://www.stryker.com/en-

us/corporate/AboutUs/History/index.htm attached as EXHIBIT 2.)

       4.        Today, Stryker considers the decision to be “the single biggest business decision

in the Company’s history.” (Printout from Stryker’s website, EXHIBIT 2.)

       5.        Stryker acquired Pfizer’s Howmedica division for nearly $2 billion, a transaction

that came together in a matter of weeks as part of a bidding process against several competitors,

with Pfizer dictating the terms in a pre-packaged acquisition agreement. (Stock and Asset


                                                 2
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8808 Filed 08/01/14 Page 3 of 23




Purchase Agreement between Pfizer and Stryker dated August 13, 1998 (the “Purchase

Agreement”) p. 37, §2.7 attached as EXHIBIT 3; excerpts of Hall Dep., June 3, 2014, pp. 84:17-

85:2 attached as EXHIBIT 4.)

       6.      As part of the parties’ agreement, Stryker agreed to assume multiple liability risks

as part of the deal it executed, which included:

               (a)     Stryker’s assumption of liability for any and all claims arising from

                       hundreds of thousands of pieces of time-sensitive, medical implant

                       products it was acquiring;

               (b)     Stryker’s waiver of all UCC-type warranties (including the warranties of

                       merchantability and fitness) with respect to the acquired products; and

               (c)     Stryker’s agreement to indemnify and hold Pfizer harmless from all post-

                       closing claims.

(Purchase Agreement, pp. 34-35, §2.5; pp. 50-72, Article V; pp. 74-76, §6.8; pp.126-128, Article

VIII, EXHIBIT 3.)

Stryker’s Acquisition and Distribution of Stale Inventory and Resulting Claims

       7.      Stryker finalized its transaction with Pfizer in December 1998, and even though it

waived all UCC-type warranties and lacked the time to conduct an audit of the massive inventory

before the deal was final, Stryker sold the inventory it acquired without delay. (Excerpts of April

3, 2007 Trial Opinion, Stryker Corp., et al., v. Nat. Union Fire Ins. Co. of Pittsburgh, PA, et al.,

No. 4:01-cv-00157-RHB (W.D. Mich. Oct. 4, 2001) (“Stryker I”), Stryker I Dkt. 916, p. 22

attached as EXHIBIT 5; excerpts of Lipes Trial Testimony, January 29, 2007, pp. 89:13-90:16




                                                   3
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8809 Filed 08/01/14 Page 4 of 23




attached as EXHIBIT 6; excerpts of Staub Trial Testimony, January 30, 2007, p. 269:2-12 attached

as EXHIBIT 7.)

         8.       In fact, some of the inventory Stryker acquired (including all the knee implant

products called the Duracon Unicompartmental Knee® (“DUK”)) was expired (or beyond its

recommended shelf life) on the date of closing. (Excerpts of Stryker’s Counterclaim, Pfizer, Inc.,

et al., v. Stryker Corp., No. 02-CIV-8613 (LAK) (S.D.N.Y. Oct. 28, 2002) (“Pfizer Lawsuit”),

pp. 12-13, ¶¶ 40-41 attached as EXHIBIT 8.)

         9.       Regardless, Stryker distributed its stale DUK inventory for implantation into

patients. (Excerpts of Stryker’s Counterclaim, Pfizer Lawsuit, pp. 12-13, ¶¶ 40-41, EXHIBIT 8;

excerpts of Stryker I August 17, 2005 Opinion Stryker I Dkt. 689, p. 2 attached as EXHIBIT 9.)

         10.      The stale DUK implants failed in dozens of patients shortly after implantation due

to the defect and had to be removed and replaced. (Excerpts of Stryker I August 17, 2005

Opinion, Stryker I Dkt. 689,1 p. 2, EXHIBIT 9.)

         11.      Thereafter, the patients asserted claims for their injuries against Stryker alone or

both Stryker and Pfizer (as the manufacturer of the DUK implants) (“Post-Closing Claims”).

(Excerpts of August 17, 2005 Opinion, Stryker I Dkt. 689, p. 2, EXHIBIT 9; excerpts of Plaintiffs’

Brief Supporting their Motion for Summary Judgment Against TIG on Remand, Dkt. 262, p. 3

attached as EXHIBIT 10.)

         12.      Stryker received notice of the first Post-Closing Claim in early 2000. (Excerpts of

Cartier Dep., May 30, 2014 p. 54:14 attached as EXHIBIT 11.)



1
  Unless otherwise indicated, citations to the record noted as “(Dkt. __)” refer to the court docket for this lawsuit,
Stryker Corp., et al., v. XL Ins. Am. Inc., et al., No. 1:05-cv-051 (RHB) (W.D. Mich. Jan. 20, 2005) (“Stryker II”).

                                                          4
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8810 Filed 08/01/14 Page 5 of 23




Stryker’s Insurance Program

       The 1999-2000 Policy Period

       13.     As part of its acquisition, Stryker expanded coverage under its existing 1999-2000

liability insurance program to include the newly-acquired Pfizer Howmedica entity. (January 12,

1999 J&H Marsh & McLennan Memorandum attached as EXHIBIT 12.)

       14.     The 1999-2000 insurance program was structured in layers, with Stryker

assuming a self-insured retention (“SIR”) for the first $2 million, National Union Fire Insurance

Company of Pittsburgh, PA (“National Union”) providing the next $15 million, TIG providing

the next $25 million, and other excess carriers providing an additional $165 million above TIG,

for a total of $205 million of coverage above the SIR. (Stryker Corporation Historical Policies

chart attached as EXHIBIT 13.)

       The 2000-2001 Policy Period

       15.     For the following policy year (2000-2001), Winterthur International America

Insurance Company, now known as XL Insurance America, Inc. (“XL”) replaced National

Union’s $15 million layer beneath TIG’s layer. (Stryker Corporation Historical Policies chart,

EXHIBIT 13.)

       16.     Also during the 2000-2001 policy year Stryker added another $95 million of

excess coverage, which brought the total coverage to $300 million above Stryker’s SIR. (Stryker

Corporation Historical Policies chart, EXHIBIT 13.)

       The Underlying XL Policy for 2000-2001

       17.     The 2000-2001 XL policy contained a Definition of Occurrence - Medical

Products Endorsement, under which claims arising from the same product defect pronounced in


                                                5
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8811 Filed 08/01/14 Page 6 of 23




an Advisory Memorandum issued by Stryker during the 2000-2001 policy period were to be

batched into that year. (Excerpts of XL policy, policy number HFL 004-28-67-00, Endorsement

No. 15, Definition of Occurrence – Medical Products Endorsement attached as EXHIBIT 14.)

       18.    Stryker’s Advisory Memorandum regarding the DUK claims was issued on July

28, 2000. (July 28, 2000 Advisory Memorandum attached as EXHIBIT 15.)

       The TIG Policy for 2000-2001

       19.    The Insuring Agreement for the TIG Policy provides in relevant part:

       WE will pay on YOUR behalf the ULTIMATE NET LOSS (1) in excess of all
       UNDERYLING INSURANCE, and (2) only after all UNDERLYLING
       INSURANCE has been exhausted by the payment of the limits of such insurance
       for losses arising out of occurrences insured by all of the policies designated in
       the Declarations as UNDERLYING INSURANCE.

(TIG Policy, EXHIBIT 1.)

       20.    The TIG Policy defines Ultimate Net Loss as “the amount of the principal

sum…actually paid or payable in cash in the settlement or satisfaction of claims for which the

insured is liable…by…compromise with the written consent of [TIG].” (TIG Policy, EXHIBIT 1.)

       21.    According to the terms of the Policy TIG’s consent is required if Stryker wants

the underlying claim settlements included in the calculation of Ultimate Net Loss under the TIG

Policy. The TIG Policy does not exclude this consent requirement for Stryker’s settlements

within the underlying policy limits if Stryker wants TIG to provide coverage for such

settlements. (TIG Policy, EXHIBIT 1; excerpts of June 27, 2013 Opinion, Dkt. 327, pp. 12-13

attached as EXHIBIT 16). TIG’s witnesses consistently confirmed this interpretation in their

deposition testimony. For example, Marilyn Schultz, the TIG underwriter who drafted the TIG

excess liability form at issue, testified that if the settlement “is never presented to TIG for


                                               6
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8812 Filed 08/01/14 Page 7 of 23




payment, [it] doesn’t care,” but “if a claim were being presented to TIG to pay, then TIG has to

agree to [the] settlements.” (Excerpts of Schultz Dep., September 18, 2013, pp. 149:20, 128:15-

17 attached as EXHIBIT 17.) Further, a former TIG underwriter at the time, Don Bendure, was

asked if “TIG had the right to consent to all settlements within the underlying layer.” He

testified, “Yes, if they intend to call upon TIG to participate,” which he clarified as meaning “to

pay.” (Excerpts of Bendure Dep., December 5, 2013, p. 148:9-18 attached as EXHIBIT 18.) (See

also: excerpts of Bendure Dep., December 5, 2013, pp. 30:4-31:6, 129:12-21, 134:19-135:2,

137:17-139:14, 148:9-18, EXHIBIT 18; excerpts of Schultz Dep., September 18, 2013, pp. 70:5-

11, 71:14-72:6, 128:15-130:4, 145:23-146:5, 149:14-150:6, 156:19-157:22, 161:17-162:11,

EXHIBIT 17; excerpts of Slavin Dep., January 24, 2014, pp. 110:14-23, 125:14-20, 133:7-13

attached as EXHIBIT 19; excerpts of Ribble Dep., January 15, 2014, pp. 42:9-14, 44:7-45:24

attached as EXHIBIT 20; excerpts of Lameka Dep., January 9, 2014, pp. 65:12-66:16, 117:3-12,

139:12-15, 140:10-20 attached as EXHIBIT 21; excerpts of Mason Dep., December 18, 2013, p.

113:12-17 attached as EXHIBIT 22.)

       22.     The TIG Policy does not impose any duty on TIG to defend or to raise coverage

issues before its policy is implicated. The TIG Policy provides: “WE shall not be called upon to

assume charge of the investigation, settlement or defense of any claim made or suit brought

against YOU, but WE shall have the right and be given the opportunity to be associated in the

defense and trial of any claims or suits relative to any occurrence which, in OUR opinion, may

create liability on the part of US under the terms of the policy.” (TIG Policy, EXHIBIT 1.)

       23.     Further, the TIG Policy states: “WE have no duty to provide coverage under this

policy unless YOU and any other involved insured have fully complied with the conditions of


                                                 7
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8813 Filed 08/01/14 Page 8 of 23




this policy.” (TIG Policy, EXHIBIT 1.) One of the conditions sets forth Stryker’s duties in the

event a “claim or suit” is brought against it – Condition F, which provides in pertinent part:

                                             *       *       *

       2.      If a claim is made or suit brought against YOU, YOU must see to it the
               WE receive prompt written notice of the claim or suit.

       3.      YOU and any other involved insured must:

               a.      Immediately send US copies of any demands, notices, summons or
                       legal papers received in connection with the claim or suit.

                                             *       *       *

(TIG Policy, EXHIBIT 1.)

Stryker’s Notice to TIG of the Post-Closing Claims and Settlements

       24.      On August 17, 2000, Stryker began giving notice of the Post-Closing Claims to

its 2000-2001 insurers. This notice was provided via a letter directed to XL (the underlying

umbrella insurer) with TIG and Stryker’s other excess insurers receiving copies. (Example

August 17, 2000 correspondence attached as EXHIBIT 23.)

       25.     Over the course of the next two years, TIG was copied on boilerplate notices of

the claims and/or suits (including copies of the complaints) as they were asserted against Stryker

for some 75 Post-Closing Claims. (Example September 25, 2002 correspondence attached as

EXHIBIT 24.)

       26.     However, at no point during the time the Post-Closing Claims were being

reported or settled did Stryker ask TIG to do anything or seek its consent of the settlements.

(Example August 17, 2000 correspondence, EXHIBIT 23; example September 25, 2002




                                                 8
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8814 Filed 08/01/14 Page 9 of 23




correspondence, EXHIBIT 24; Baird Affidavit, September 24, 2012, Dkt. 268, Ex. A attached as

EXHIBIT 25.)

       27.     TIG acknowledged the notices it received and asked to be kept “updated on any

pertinent developments that may implicate our policy” regarding the Post-Closing Claims. TIG

did not waive any policy term, including the consent requirement, in its communications with

Stryker regarding the Post-Closing Claims. (Examples October 4, 2001 correspondence and

December 19, 2000 correspondence attached as EXHIBIT 26.)

       28.     In September and October of 2001, TIG also was copied on two broker reports

directed to XL and National Union that attached summaries of the settlements that Stryker had

reached on the Post-Closing Claims. Based on the information TIG received in the reports, such

as the number of claims that were Stryker’s responsibility and the average settlement amount,

Stryker’s exposure for the Post-Closing Claims did not appear likely to come close to exceeding

the $17 million in underlying limits. (September 27, 2001 correspondence attached as EXHIBIT

27; October 18, 2001 correspondence attached as EXHIBIT 28.)

       29.     For example, the October 2001 report indicated that 70 Post-Closing Claims had

been brought against Stryker as to which Stryker had been able to settle 15 for a total of

$1,087,600 (approximately $72,500 per suit/claim). Assuming this settlement value the then-

existing 70 Post-Closing Claims had a value of about $5 million – well below TIG’s layer of

coverage. (October 18, 2001 correspondence, EXHIBIT 28.) Eventually, Stryker was implicated

in 80 DUK-related claims/suits, and in Stryker I, this Court ruled that 75 of these Post-Closing

Claims were in the “batch” defined by the July 28, 2000 advisory memorandum for purposes of

triggering the 2000-2001 policies. (Excerpts of August 17, 2005 Opinion, Stryker I Dkt. 689, pp.


                                               9
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8815 Filed 08/01/14 Page 10 of 23




17-18, EXHIBIT 9.) Between 2000 and 2006, Stryker settled its own liability in those 75 Post-

Closing Claims for $7.6 million (approximately $100,000 per claim/suit). (List of Claim

Settlements chart, Stryker I Dkt. 1174-2 attached as Exhibit 29.)

       30.      TIG did not receive any reports or summaries related to the Post-Closing Claim

settlements that were reached after October 2001 similar to the ones it received in September and

October 2001.

The Pfizer Indemnification Claim and Stryker’s Failure to Inform TIG of that Claim

       31.      On April 16, 2001 – during the same period of time that Post-Closing Claims

were being asserted against Stryker – Pfizer tendered the defense and made a claim for

indemnification against Stryker pursuant to the Purchase Agreement for the Post-Closing Claims

in which Pfizer had been implicated (“Pfizer Indemnification Claim”). (April 16, 2001

correspondence attached as EXHIBIT 30.)

       32.      Stryker did not communicate the Pfizer Indemnification Claim to TIG or

otherwise advise or provide information to TIG of the potential liabilities it was subject to under

the Purchase Agreement with regard to the Pfizer Indemnification Claim. Those additional

liabilities included interest on any Post-Closing Claim settlements or judgments incurred by

Pfizer, as well as Pfizer’s attorneys’ fees in pursuing its indemnification claims against Stryker,

together with interest on those fees. (Purchase Agreement, EXHIBIT 3.)

       33.      Nor did Stryker advise TIG that it intended to categorically reject Pfizer’s tender

of the defense and claim for indemnification, which it did on June 29, 2001, even though the

Purchase Agreement required Stryker to fully indemnify Pfizer for such claims and Stryker’s

General Counsel viewed its position regarding the Pfizer Indemnification Claim as a “hard


                                                10
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8816 Filed 08/01/14 Page 11 of 23




position to win on” given the terms of the Purchase Agreement. (June 29, 2001 correspondence

attached as EXHIBIT 31; excerpts of Hall Dep., June 3, 2014, p. 153:7-20, EXHIBIT 4.)

       34.     In addition, despite the fact that about half of the Post-Closing Claims implicated

both Stryker and Pfizer, Stryker reported those claims in Status Report summaries to its insurers

as Stryker’s sole responsibility. (List of Claims table from Stryker’s Brief in Support of

Plaintiffs’ Motion for Summary Judgment Against XL Insurance America, Inc., Dkt. 97, pp. 4-5

attached as EXHIBIT 32; September 27, 2001 correspondence, EXHIBIT 27; October 18, 2001

correspondence, EXHIBIT 28.)

       35.      The record shows that by August 2000 Stryker knew that “140 to 150” potential

Post-Closing Claims existed and that, in its estimation, would take “$250,000 or more” to

resolve each of these claims – an exposure of at least $35 million. (Excerpts of Cartier Dep., May

30, 2014, p. 54:13-55:6, EXHIBIT 33; Excerpts of Hall Dep., June 17, 2008 pp.46-47 attached as

EXHIBIT 34; August 13, 2001 handwritten notes attached as EXHIBIT 34-1.)

       36.     Nevertheless, on October 4, 2001 Stryker filed a declaratory judgment action

solely against its insurers National Union and XL (and not TIG) (Stryker I). This lawsuit

involved only the sums Stryker had paid, and in the future would pay, to resolve its own liability

for the Post-Closing Claims (“Direct DUK Claims”) and did not include the Pfizer

Indemnification Claims. (Stryker I Complaint, Stryker I Dkt. 1 attached as EXHIBIT 35.)

       37.     While Stryker has stated that it did not name TIG as a defendant in Stryker I

because “the full amount of the claims asserted directly against Stryker, by itself, [did] not

exceed XL’s policy limits.” (Excerpts of Plaintiffs’ Brief Supporting their Motion for Summary

Judgment Against TIG on Remand, Dkt. 262, p. 4, EXHIBIT 36 (emphasis added)), the facts show


                                               11
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8817 Filed 08/01/14 Page 12 of 23




that these claims account for less than half of the total Post-Closing Claims actually filed against

Stryker (that is, only 37 of 75 claims) and only about a quarter of the total potential Post-Closing

Claims (or 37 of approximately 140-150 claims). (Excerpts of August 17, 2005 Opinion, Stryker

I Dkt. 689, pp. 17-18, EXHIBIT 9; Excerpts of Cartier Dep., May 30, 2014, p. 54:13-55:6,

EXHIBIT 33; Excerpts of Hall Dep., June 17, 2008 pp.46-47, EXHIBIT 34.)

       38.     Nevertheless, for over a year after Stryker rejected the Pfizer Indemnification

Claim, Stryker continued in its position that it was not required to indemnify and hold Pfizer

harmless for the Post-Closing Claims – all without a word to TIG. (Pfizer’s Complaint, Pfizer

Lawsuit Dkt. 1 attached as EXHIBIT 36.)

       39.     In October 2002, the first group of joint cases, involving 29 Post-Closing Claims,

went to trial in Virginia. Before the trial concluded, a global settlement of the cases was reached,

with Stryker agreeing to pay one-third of a global settlement or $3,250,000 and Pfizer agreeing

to pay the balance of $6,275,000 to close the deal (“Orrik Settlement”). (Pfizer’s Complaint,

Pfizer Lawsuit Dkt. 1 EXHIBIT 36.)

       40.     Stryker did not report the Orrik Settlement.

The Pfizer Suit and Stryker’s Failure to Provide TIG Key Information / Documents

       Initiation of the Pfizer Lawsuit

       41.     On October 28, 2002, shortly after the Orrik Settlement was reached, Pfizer filed

suit against Stryker in federal court in New York (the “Pfizer Litigation”). (Pfizer’s Complaint,

Pfizer Lawsuit Dkt. 1, EXHIBIT 37.)

       42.     On January 8, 2003, Stryker’s broker forwarded a one-page Memo regarding the

Pfizer Litigation to Stryker’s insurers. The cover letter from the broker was directed to National


                                                12
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8818 Filed 08/01/14 Page 13 of 23




Union, with TIG and the other excess carriers (in the 1999-2003 policy years) noted as copy

recipients. (January 8, 2003 correspondence attached as EXHIBIT 38.) The one-page Memo

generally described Pfizer’s position – that Stryker was obligated to reimburse it for Post-

Closing Claims – and provided the amount of damages sought. The Memo did not reference the

fact that Pfizer’s position was based on the Purchase Agreement. The Memo, authored by

Stryker’s General Counsel’s administrative assistant, stated in substantive part:

       On October 28, 2002, Pfizer Inc. and MTG Divestitures, Inc. (f/k/a Howmedica
       Inc.) (collectively, “Pfizer”) filed suit against Stryker alleging, among other
       things, that Stryker is obligated to reimburse Pfizer for over $7.0 million in
       litigation expenses, including certain defense and settlement costs, “incurred as a
       result of third party claims arising from alleged injuries” due to the implantation
       of expired Duracon Uni-Knees sold after December 4, 1998. In addition, Pfizer
       alleges that Stryker is obligated to reimburse or pay on behalf of Pfizer all
       judgments, awards, liabilities, losses, or settlements or other amounts which they
       become legally obligated to pay as a result of any third party claim for injury
       allegedly due to the use of a product” sold after December 4, 1998. The suit has
       been filed in the U.S. District Court for the Southern District of New York.

(January 8, 2003 correspondence, EXHIBIT 38.)

       43.     Stryker failed to provide TIG with a copy of Pfizer’s complaint against it, as had

been done with the Post-Closing Claims implicating Stryker. (January 8, 2003 correspondence,

EXHIBIT 38.)

       44.     Within days of receiving the one-page Memo, TIG requested a copy of the Pfizer

complaint, as well as the Purchase Agreement and Stryker’s defense counsel reports. (January

16, 2003 claim handler remarks attached as EXHIBIT 39; January 14, 2003 correspondence

attached as EXHIBIT 40; January 16, 2003 correspondence attached as EXHIBIT 40.) However,

there is no indication in the record that TIG received any of these materials from Stryker or

Marsh until after this lawsuit was filed in 2005. (Bruett Affidavit, July 30, 2014 attached as


                                                13
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8819 Filed 08/01/14 Page 14 of 23




EXHIBIT 41.)    In fact, TIG did not receive a copy of the Purchase Agreement (without

attachments) until March 2005 or a copy of Pfizer’s complaint (without exhibits) until 2007.

(March 29, 2005 correspondence attached as EXHIBIT 42; Document Production correspondence

attached as EXHIBIT 46.) To date, TIG has not received copies of Stryker’s defense counsel

communications related to the Pfizer lawsuit, which have been withheld by Stryker on privilege

grounds. (Excerpts of Stryker’s privilege log attached as EXHIBIT 43.)

       45.     Pfizer’s complaint contained information not disclosed in the one-page Memo. In

particular, the allegations in Pfizer’s complaint recapped the Stryker-Pfizer dispute to date and

included the following facts:

               (a)    Both Stryker and Pfizer were implicated in numerous DUK suits,
                      including some 29 cases in Virginia involving Post-Closing Claims (“the
                      Orrik litigation”).

               (b)    Under Section 2.5(c) of the Purchase Agreement, Stryker assumed “all
                      liability for claims by third parties arising from the use or application of a
                      product of Business sold after the Closing.”

               (c)    Under Section 8.2 of the Purchase Agreement, Stryker agreed to
                      indemnify and hold Pfizer harmless for “all such claims, losses, costs or
                      damages” arising from such claims.

               (d)    Stryker had “declined Pfizer’s tender of defense and claim for
                      indemnification” for the post-Closing cases in a letter dated June 29, 2001,
                      claiming that “the products in question should never have been conveyed
                      to Stryker and, therefore, are not covered by Section 2.5(c) and Article
                      VIII [Section 8.2] of the Agreement.”

               (e)    On or about October 8, 2002, the plaintiffs in the Orrik litigation agreed to
                      a settlement and that “[n]otwithstanding the fact that twenty-nine of the []
                      Duracon Uni-Knee lawsuits consolidated in the Orrik litigation were post-
                      Closing cases, Stryker agreed to contribute only a small portion of the
                      settlement amount,” requiring the balance to be paid by Pfizer.

               (f)    Stryker has refused to defend, indemnify or hold Pfizer harmless with
                      respect to other DUK lawsuits beyond those at issue in the Orrik litigation.

                                               14
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8820 Filed 08/01/14 Page 15 of 23




               (g)     As a direct result of Stryker’s breach of the Purchase Agreement, Pfizer
                       “ha[s] incurred and will incur in the future, significant expense, including
                       attorneys’ fees and costs, in connection with enforcing the right to
                       indemnification under the Agreement, including attorneys’ fees and costs
                       incurred in bringing the instant action.”

               (h)     Under the Purchase Agreement’s terms, Stryker is obligated to indemnify
                       Pfizer “by reimbursing them in full for all liabilities, losses, costs or
                       damages incurred in post-Closing Uni-Knee lawsuits as well as all
                       litigation expense incurred in connection with this matter.”

(Pfizer’s Complaint, Pfizer Lawsuit Dkt. 1, EXHIBIT 37.)

       46.     Further, Pfizer’s complaint included two counts – one for declaratory judgment

and another for breach of contract. The prayer for relief requested damages for breach of

contract in the amount of $7,543,000, plus additional damages to be proven at trial and pre-

judgment interest at the statutory rate. Pfizer also sought relief in the form of a declaration

holding Stryker liable for its defense and indemnification obligations with respect to future

claims, including defense expenses and costs, together with all attorneys’ fees, costs and expense

incurred in connection with its efforts to enforce Stryker’s indemnification obligations in the

Pfizer Litigation. (Pfizer’s Complaint, Pfizer Lawsuit Dkt. 1, EXHIBIT 37.)

       Initial Proceedings / Discovery in Pfizer Lawsuit

       47.     After filing its complaint, Pfizer obtained a default judgment against Stryker after

Stryker failed to timely respond to the complaint. (Default Judgment, Pfizer Lawsuit Dkt. 6

attached as EXHIBIT 44.)

       48.     The New York court later set the $7.6 million default judgment aside, after

Stryker agreed to drop a suit against Pfizer it filed in federal court in New Jersey. (Docket report,

Pfizer Lawsuit attached as EXHIBIT 45.)


                                                 15
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8821 Filed 08/01/14 Page 16 of 23




       49.     Thereafter the following key documents were filed by the parties in the Pfizer

lawsuit:

               (a)    February 14, 2003 – Stryker’s Answer and Counterclaim for Declaratory
                      Judgment and Damages (Docket report, Pfizer Lawsuit, EXHIBIT 45);

               (b)    March 7, 2003 – Pfizer’s Reply to Stryker’s Counterclaim (Docket report,
                      Pfizer Lawsuit, EXHIBIT 45);

               (c)    March 14, 2003 – Pfizer’s Amended Complaint (Docket report, Pfizer
                      Lawsuit, EXHIBIT 45);

               (d)    March 17, 2003 – Stryker’s Amended Counterclaim (Docket report, Pfizer
                      Lawsuit, EXHIBIT 45);

               (e)    March 27, 2003 – Stryker’s Answer to Pfizer’s Amended Complaint
                      (Docket report, Pfizer Lawsuit, EXHIBIT 45); and

               (f)    April 3, 2003 – Pfizer’s Reply to Stryker’s Amended Counterclaim
                      (Docket report, Pfizer Lawsuit, EXHIBIT 45).

None of these legal papers were provided to TIG until the parties exchanged discovery in the

instant lawsuit. (Document Production correspondence, EXHIBIT 46.)

       50.      In the months after Stryker’s amended counterclaim was filed, Pfizer and Stryker

exchanged and conducted discovery in the Pfizer Litigation. (Docket report, Pfizer Lawsuit,

EXHIBIT 45.)

       Summary Judgment Phase in Pfizer Lawsuit

       51.     On December 2, 2003 Stryker’s outside counsel sent a status report to Stryker’s

primary umbrella carriers’ counsel, which provided those insurers with the following

information:

               (a)    Pfizer was continuing to resolve Post-Closing Claims in which it was
                      implicated.

               (b)    As of September 12, 2003, Pfizer’s reported losses for Post-Closing
                      Claims amounted to $11.0 million.

                                              16
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8822 Filed 08/01/14 Page 17 of 23




              (c)     Pfizer’s losses increased after it suffered adverse jury verdicts in two
                      additional group cases involving Post-Closing Claims (Galzerano (4 cases)
                      and Bartlett (3 cases)). These adverse verdicts totaled an additional $6.9
                      million – an average of about $1 million per case.

              (d)     On November 4, 2003, Stryker and Pfizer filed cross motions for summary
                      judgment and briefs in the Pfizer Lawsuit.

              (e)     A court-ordered settlement conference was scheduled for December 16,
                      2003 before the federal Magistrate.

This report concluded by noting:

       Although we understand that both of your clients have denied coverage – and
       have refused to defend and indemnify Stryker or HOC – for any of the Duracon
       Uni-Knee claims, including those at issue in the Pfizer litigation, we are providing
       this update out of an abundance of caution. Stryker believes that the above-
       referenced policies sold to Stryker by your clients provide coverage for the
       amounts Pfizer may recover against Stryker in the Pfizer Litigation.

       In addition to the above amounts awarded or agreed to in resolving claims against
       Pfizer and its subsidiaries, Stryker agreed to pay plaintiffs in the four [sic]
       Galzerano cases $400,000 and plaintiffs in the three Bartlett cases $350,000 in
       settlement of claims against Stryker and its subsidiaries.

(December 2, 2003 correspondence (attached as Exhibit D to Stryker’s Complaint filed January

20, 2005, Dkt. 1-5) attached as EXHIBIT 47; Pfizer’s and Stryker’s summary judgment motions

and supporting briefs, Pfizer Lawsuit attached as EXHIBIT 37.)

       52.    TIG was not copied on the December 2, 2003 report. Nor did TIG receive any

information related to the Pfizer Litigation activities outlined in it, including the summary

judgment briefs. Additionally, TIG was not advised that the underlying carriers had refused to

defend and indemnify Stryker regarding the Post-Closing Claims, which was referenced in this

report. Nor was TIG advised that in the cases involving both Stryker and Pfizer as defendants,

Stryker was not obtaining full releases when it settled those claims. Unbeknownst to TIG,




                                               17
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8823 Filed 08/01/14 Page 18 of 23




Stryker was settling its liability only in those joint Post-Closing Claims, leaving Pfizer to settle

or litigate its own liability in those Claims. (December 2, 2003 correspondence, EXHIBIT 47.)

       53.     In fact, TIG did not receive the December 2, 2003 report until May 2, 2005 when

it was served with Stryker’s Complaint, which attached the report as Exhibit D. (December 2,

2003 correspondence, EXHIBIT 47). However, around the time of the December 2, 2003 report

Stryker knew that any liability incurred by Pfizer regarding the Post-Closing Claims could

ultimately become its responsibility.     As Stryker’s General Counsel (Curtis Hall) testified,

“[Pfizer] had manufactured the products, but under the terms of the Agreement, unless [Stryker]

could shift all of that burden back to Pfizer, we were getting stuck with those liabilities… .”

(December 2, 2003 correspondence, EXHIBIT 47; excerpts of Hall Dep., June 17, 2008, p. 50:10-

14, EXHIBIT 34; Purchase Agreement, pp. 34-35, 74-76, 126-128, EXHIBIT 3.)

       54.     Further, at the time of the December 2, 2003 report, Stryker had spent $6,887,784

to resolve its own liabilities in the Post-Closing Claims. (List of Claim Settlements chart, Stryker

I Dkt. 1174-2, Exhibit 48.) Collectively, Pfizer and Stryker had incurred a combined $18 million

in settlements or judgments related to Post-Closing Claims. (December 2, 2003 correspondence,

EXHIBIT 47.) In addition to these liabilities, as Stryker’s counsel noted in the December 2, 2003

report, Stryker knew it was also potentially liable for “fees and costs in the Pfizer Litigation” and

prejudgment interest on all sums it would owe Pfizer. (December 2, 2003 correspondence,

EXHIBIT 47.)

       55.     Despite Stryker’s knowledge of its incurred and potential liabilities relating to the

Post-Closing Claims (as evidenced by its counsel’s December 2, 2003 report), Stryker limited

the information it provided to TIG during this time period to: (i) boilerplate notices of the Post-


                                                 18
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8824 Filed 08/01/14 Page 19 of 23




Closing Claims implicating Stryker (along with related claim or suit papers); (ii) the September

and October 2001 settlement summaries related to the Post-Closing Claims; and (iii) the one-

page January 2003 Memo regarding the Pfizer Litigation. (December 2, 2003 correspondence,

EXHIBIT 47.) But none of these materials indicated the Post-Closing Claims might exceed the

TIG Policy’s attachment point of $17 million. (Example August 17, 2000 correspondence,

EXHIBIT 23; example September 25, 2002 correspondence, EXHIBIT 24; September 27, 2001

correspondence, EXHIBIT 26; October 18, 2001 correspondence, EXHIBIT 27; January 8, 2003

correspondence, EXHIBIT 38.)

       Summary Judgment Entered Against Stryker in Pfizer Lawsuit

       56.      On November 24, 2004 the Southern District Court of New York entered an

order granting summary judgment in Pfizer’s favor and against Stryker with regard to Stryker’s

liability for the Post-Closing Claims.     (Pfizer, Inc. v. Stryker Corp., 348 F. Supp. 2d 131

(S.D.N.Y. 2004) attached as EXHIBIT 49.)

       57.     Stryker’s outside counsel first advised the underlying umbrella insurers on

December 6, 2004 of the adverse summary judgment ruling in the Pfizer lawsuit. Counsel’s

letter noted that Pfizer had established as a matter of law that Stryker was “required to indemnify

and defend Pfizer for losses which it suffered in connection with [the DUK] claims arising from

implants sold after [the closing date], and to reimburse Pfizer for its attorneys fees in the Pfizer

Litigation.” The letter further noted that counsel expected Pfizer’s damages “could exceed $18

million.” (December 6, 2004 correspondence attached as EXHIBIT 53.)

       58.      The December 6, 2004 letter from counsel was sent to TIG on December 15,

2004 – nearly two years after TIG received its last communication from Stryker with regard to


                                                19
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8825 Filed 08/01/14 Page 20 of 23




the Post-Closing Claims (the one-page January 8, 2003 Memo discussed above). The cover

letter to TIG advised, “both National Union and [XL] have already [sic] notified of this matter”,

but it did not indicate that both underlying carriers denied coverage for the Post-Closing Claims.

(December 15, 2004 correspondence attached as EXHIBIT 50.)

       59.     On December 28, 2004, Stryker’s outside counsel asked James Hopson of Marsh

to “provide prompt notice to all of Stryker’s excess carriers, from 1999 to date, of recent

developments in this case that may trigger coverage under some or all of those policies,” noting

that this was an update to a letter dated January 8, 2003 (nearly two years prior) “to those

carriers” regarding the Pfizer Litigation. (December 28, 2004 correspondence attached as

EXHIBIT 51.)

       60.     On January 18, 2005, Mr. Hopson sent a letter to National Union with copies to

the excess insurers, including TIG, enclosing Stryker’s counsel’s December 28, 2004 report.

TIG received that communication on January 21, 2005 – after Stryker filed this lawsuit. (January

18, 2005 correspondence attached as EXHIBIT 52.)

Stryker’s Counsel’s Post-Lawsuit Communications with TIG’s Claims Department

       61.     On January 20, 2005 Stryker filed the instant lawsuit against XL and National

Union for coverage based on the Pfizer Indemnification Claim and TIG for any DUK-related loss

in excess of that coverage. (Dkt. 1.)

       62.     In the four months following the filing of this lawsuit, but before TIG was served

with the summons and complaint or otherwise advised of this lawsuit, Stryker’s outside counsel

engaged TIG’s claims department in a series of communications, requesting TIG’s coverage




                                               20
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8826 Filed 08/01/14 Page 21 of 23




position on the Pfizer Indemnification Claim and TIG’s attendance at an upcoming mediation

with Pfizer. (See example communications discussed below.)

       63.     On February 3, 2005 Stryker’s outside counsel sent a letter to TIG regarding the

Pfizer claim. In particular, Stryker’s counsel advised:

       Last week you called me in response to my January 25, 2005 letter to Mr. Patrick
       Denning [of TIG] (a copy is enclosed). You told me, on behalf of TIG, you had
       requested additional information about this case from Mr. James Hopson of
       Marsh… . In the future, please forward any requests for information directly to
       me. You asked that I send a copy of the Winterthur policy for the year 2000. A
       copy is enclosed. You also told me that TIG would make no commitment
       concerning coverage, will not attend any mediation, and is reserving its rights.

       The mediation that was previously scheduled for February 7 will now take place
       later in the month. Prior to the mediation, we would like to know TIG’s position
       on coverage. We would also like TIG to let us know whether it consents to
       Stryker’s participation in the mediation for the purpose of attempting to settle the
       referenced action. If we do not hear from you by the close of business (5 p.m.) on
       February 15, we will assume that TIG consents to Stryker’s participation in the
       mediation for that purpose.

(February 3, 2005 correspondence attached as EXHIBIT 54.)

       64.     TIG received counsel’s letter on February 9, 2005 and responded the next day.

TIG’s four-page letter directed to Stryker’s counsel raised many questions regarding the Pfizer

Indemnification Claim and how it might impact the TIG Policy. Further, TIG indicated that it

was “not in a position to state [its] coverage position since we need additional information as to

the claims and the positions of the carriers under TIG.” Based on this lack of information, TIG

declined to provide Stryker with its consent to participate in a mediation to resolve the Pfizer

Litigation. TIG also requested thirteen items it needed to assess coverage including: (i) a copy of

the complaint in the Pfizer Litigation; and (ii) a copy of the Purchase Agreement. The letter

concluded by stating, “Upon receipt of this information we will further analyze our position. In


                                                21
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8827 Filed 08/01/14 Page 22 of 23




the interim, we continue to reserve our rights under the policy.” (February 10, 2005

correspondence attached as EXHIBIT 55.)

       65.       TIG’s February 10, 2005 request to Stryker for information including the Pfizer

complaint and Purchase Agreement was TIG’s third request to Stryker for these two particular

documents. TIG’s prior requests occurred in January 2003 and again in January 2005. (January

16, 2003 correspondence and January 25, 2005 correspondence attached as EXHIBITS 38 and 56,

respectively.)    The January 2005 request to Marsh also indicated “[a]t this time TIG has

insufficient information to make any coverage determination and reserves its rights under the

policy.” (January 25, 2005 correspondence, EXHIBIT 56.)

       66.       On March 29, 2005 Stryker’s outside counsel provided to TIG most of the

information requested in TIG’s February 10, 2005 correspondence.                (March 29, 2005

correspondence, EXHIBIT 42.)

       67.       On April 22, 2005 the Southern District Court of New York entered a judgment in

favor of Pfizer and against Stryker for $17.7 million, consisting of $12.8 million for indemnity

(plus $2.2 million interest) and $2.3 million in attorneys’ fees (plus $.4 million interest). (April

22, 2005 Judgment, Pfizer Lawsuit attached as EXHIBIT 57.)

       68.       On May 2, 2005 TIG was served with Stryker’s complaint. (Dkt. 6.)


                                              Respectfully submitted,


Dated: July 31, 2014                  By:     ____/s/ Mary E. Fechtig_____________
                                              Mary E. Fechtig
                                              Beth A. Stroup
                                              CARROLL MCNULTY & KULL, LLC
                                              100 North Riverside Plaza, Ste. 2100
                                              Chicago, IL 60606

                                                22
Case 1:05-cv-00051-RHB ECF No. 504, PageID.8828 Filed 08/01/14 Page 23 of 23




                                   (312) 800-5000
                                   mfechtig@cmk.com
                                   bstroup@cmk.com

                                   -and-

                                   Carole D. Bos
                                   BOS & GLAZIER, P.L.C.
                                   990 Monroe Avenue N.W.
                                   Grand Rapids, MI 49503
                                   (616) 458-6814
                                   cbos@bosglazier.com

                                   Attorneys for Defendant – TIG Insurance Company




                                     23
